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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

  

AMARILLO DIVISION
UNITED STATES OF AMERICA
V. NO. 2:19-CR-159-Z
BRAD WILLIAM FANSLER

FACTUAL RESUME
In support of Brad William Fansler’s plea of guilty to the offense in Count One of
the Information, Fansler, the defendant, Everett Seymore, the defendant’s attorney, and
the United States of America (the government) stipulate and agree to the following: |
ELEMENTS OF THE OFFENSE

 

To prove the offense alleged in Count One of the Information, charging a violation
of 18 U.S.C. § 371, that is, Conspiracy to Commit Wire Fraud, the government must

prove each of the following elements beyond a reasonable doubt:

Conspiracy to Commit Wire Fraud!

First: That the defendant and at least one other person made an agreement
to commit the crime of wire fraud, as charged in the Information:

Second, That the defendant knew the unlawful purpose of the agreement and
joined in it willfully, that is, with the intent to further the unlawful

purpose; and
Third. — That one of the conspirators during the existence of the conspiracy

knowingly committed at least one of the overt acts described in the
Information, in order to accomplish some object or purpose of the

conspiracy.

 

'Fifth Circuit Pattern Jury Instruction 2.15A (Sth Cir. 2015 ed.)

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Wire Fraud?

First: That the defendant knowingly devised or intended to devise any
scheme to defraud, as described in the Information;

Second: That the scheme to defraud employed false material representations,
pretenses, or promises;

Third: That the defendant transmitted or caused to be transmitted by way of
wire communications, in interstate or foreign commerce, any
writing, sign, signal, picture, or sound for the purpose of executing
such scheme; and

Fourth: That the defendant acted with a specific intent to defraud.

STIPULATED FACTS
1. Brad William Fansler admits and agrees that beginning on or about a date

unknown and continuing until on or about July 27, 2018, in the Amarillo Division of the
Northern District of Texas, and elsewhere, he did knowingly and willfully combine,
conspire, confederate, or agree with others, persons known or unknown to the United
States, to commit wire fraud, in violation of Title 18, United States Code, Section 1343,
with knowledge of the unlawful purpose of the agreement. All in violation of Title 18,
United States Code, Section 371.

2. Fansler did knowingly and with intent to defraud, devise, intend to devise,
or participate in a scheme to unlawfully enrich Reagor Dykes Auto Group (RDAG),
himself, or others, by deceiving Ford Motor Credit Company (FMCC) and fraudulently

inducing it to send money to RDAG.

 

"Fifth Circuit Pattern Jury Instruction 2.57 (5th Cir. 2015 ed.).

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3, In 2014, Brad William Fansler was hired by RDAG, and he later became
the Group Administrative Director.

4. In 2008, FMCC became the floor plan lender for Reagor-Dykes Motors LP
(Spike Dykes Ford in Lamesa, Texas). In 2014, FMCC became the floor plan lender for
1) Reagor-Dykes Auto Company LP (the Ford store in Plainview, Texas); 2) Reagor-
Dykes Imports LP (the Mitsubishi store in Lubbock, Texas); and 3) Reagor-Dykes
Amarillo LP (the Mitsubishi store in Amarillo, Texas).

5. In 2015, FMCC became the floor plan lender for 1) Reagor-Dykes
Plainview LP (the Toyota store in Plainview, Texas) and 2) Reagor-Dykes Floydada LP
(the Chevrolet store in Floydada, Texas).

6. A “floor plan” is the term used to describe a loan taken out by an auto
dealership to purchase its vehicle inventory.

7. On or about February 1, 2018, the Amarillo office of the Federal Bureau of
| Investigation received information that RDAG was engaged in wire fraud by submitting
false information to FMCC in connection with its floor plan loans. The FBI began
investigating the allegations and learned that Fansler and his co-conspirators were
involved with floor plan fraud with FMCC.

8. Fansler and his co-conspirators received funds for RDAG from FMCC by
means of wire communications in interstate or foreign commerce.

9. In June 2018, FMCC conducted an audit of the inventory at the RDAG
dealerships. FMCC reviewed the sales information for 150 vehicles and determined that
the sales dates reported to FMCC by RDAG for 147 of 150 vehicles did not match the

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sales and/or registration dates reported by the Texas DMV and/or other publicly-available
sources. On average, those 147 vehicles actually sold 55 days before RDAG paid

FMCC, which is not in compliance with its floor plan agreement. In 15 instances, FMCC
found where RDAG sold a vehicle and then, after it was sold, floor planned that vehicle
with FMCC again, even though it was no longer in inventory, thus obtaining financing
payments from FMCC under false pretenses. Because of those findings, on July 26,
2018, and on July 27, 2018, FMCC conducted a surprise audit on several RDAG
dealerships, which revealed approximately $40,434,000.00 worth of collateralized
inventory that RDAG was unable to produce for inspection.

10. The FBI interviewed multiple current and former RDAG employees who
confirmed that the six dealerships, listed above, did in fact submit fraudulent requests for
advances on the floor plan loan. The FBI confirmed through its investigation that when
RDAG sold a vehicle, and FMCC had previously extended floor plan loan proceeds to
RDAG to purchase that vehicle, RDAG had seven days to repay FMCC after the sale.
Fansler and the RDAG accounting staff routinely and intentionally failed to make those
payoffs, which is referred to as “selling vehicles out of trust.”

11. FMCC conducted what were supposed to be surprised audits. However,
RDAG would learn in advance when FMCC’s quarterly floor plan audits were going to
take place, and would disseminate that information to the RDAG’s controllers or office
managers in the dealerships.

12. TheRDAG controllers and office managers, including Fansler, with the
help of their office staff, would prepare for the floor plan audits by creating false

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paperwork, sometimes referred to as “dummy shucks,” on vehicles that were sold out of
trust, in order to make it appear as though the vehicles had just recently sold and were not
out of trust. Specifically, RDAG’s accounting staff would falsify sales dates.

13. When the FMCC-contracted auditors from Alliance Inspection
Management LLC (AIM) would arrive on site at RDAG dealerships to conduct the floor
plan audits, the RDAG controllers or office managers, including Fansler, would provide
the aforementioned false paperwork, or dummy shucks, to the auditors. This gave the
appearance that RDAG was not selling vehicles out trust, and, thus, RDAG was passing
its audits.

14, RDAG’s accounting staff would submit false information by interstate wire
communication to FMCC in order to acquire new floor plan funding, which was then
applied toward the large payoffs to FMCC after each audit. RDAG’s accounting staff
would submit requests to FMCC for new floor plan funding for vehicles that had already
passed through the dealerships months or years before. |

15. RDAG’s staff would retrieve files from old car deals and submit the
Vehicle Identification Numbers (VIN), via interstate wire communication, to FMCC as
though RDAG were buying the vehicles again, when in fact it was not. RDAG’s
accounting staff referred to this practice as “re-flooring,” “fake flooring,” or “dummy
flooring.”

16. FBI agents learned that by the time of the March 2018 and June 2018
audits, and possibly as early as January 2018, RDAG’s accounting staff in at least one
dealership ran out of vehicles to re-floor. The Snyder dealership, which floored with GM

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Financial, sent a list of its Chevrolet inventory to the Floydada dealership to be floored
with FMCC, In other words, RDAG obtained a loan from FMCC for the same vehicle
that was pledged to GM Financial as collateral for the floor plan loan on that vehicle.
RDAG’s office staff referred to this practice as “double flooring.”

17. FBI agents recovered several emails showing that Fansler and his co-
conspirators discussed the fake flooring. Specifically, on January 17, 2018, Fansler
emailed employees at the Amarillo Mitsubishi store informing them that he was in charge
of the upcoming audit. FBI agents recovered emails that show Fansler instructing others
_ at the Amarillo Mitsubishi on dummy shucks and how not to date them until he gives
them instructions. On January 19, 2018, Fansler emailed:

Big flooring today! Needs as much real first and then cover the rest with
stuff’.

Additionally, on January 19, 2018, Fansler emailed four employees at the
Amarillo and Lubbock Mitsubishi stores about post-audit fake flooring.

Need to help the bank out today. Big flooring (as much real as possible)
and big deposits.

18. FBI agents reviewed the “wholesale statement” for Reagor-Dykes Amarillo
LP (the Amarillo Mitsubishi store) for the billing period July 1, 2018 to July 31, 2018,
which shows the July 2018 activity on the Amarillo dealership’s floor plan loan. FBI
agents picked out from that wholesale statement, for closer examination, six vehicles that
Reagor-Dykes Amarillo LP floored with FMCC. These six vehicles were all floored in
early July 2018, which was soon after the late June 2018 floor plan audit. The table

below shows the vehicle, when the vehicle was floored with FMCC, and the amount that

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FMCC advanced to Reagor-Dykes Amarillo LP for each vehicle:

 

 

 

 

 

 

 

VIN Year & make Floor Amount
date

XXXXXXXC3FR1I17711 | 2015 Chevrolet | 7/9/2018 $36,475.00
XXXXXXXG5SFL500364 | 2015 Jeep 7/9/2018 $30,325.00
XXXXXXXT3ES104515 | 2014 Dodge_ 7/2/2018 $21,350.00
XXXXXXX84GGA19806 | 2016 Ford 7/3/2018 $27,350.00
XXXXXXXFOFKD78551 | 2015 Ford 7/2/2018 $38,325.00
XXXXXXX66G5601409 | 2016 Chevrolet | 7/9/2018 $63,350.00

 

 

 

 

 

 

19. Records for IBC account XXXXXXX 846 titled “Reagor-Dykes Amarillo
LP” show electronic deposits from FMCC all throughout July 2018. They show up on
the statements as “FORD CREDIT DEFT CREDIT.” These funds were transferred via
wire in interstate commerce.

20. FBI agents learned that the registration information as of March 27, 2019,
shows that these same six vehicles were all bought and sold by the Amarillo dealership
months prior to RDAG flooring them with FMCC in July 2018. The current registered
owners bought these vehicles from Reagor-Dykes Amarillo LP between February 2017
and April 2018. The registration information shows that the previous owner on all six
vehicles is “Reagor Dykes, Amarillo, TX.” These are six more examples of RDAG
submitting fraudulent flooring requests to FMCC and are what RDAG’s accounting staff
describes as “re-flooring” or “dummy flooring.”

21. The actual loss amount for the floor plan fraud is approximately
$27,019,211.02. This amount is based on the following:

a) $13,844,522.70-409 vehicles not in inventory,

b) $11,616,703.66-352 vehicles sold by RDAG and funded, and

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c) $1,558,484.66—37 vehicles re-floored.
All of the “dummy floored” vehicles previously described are included in the 409
vehicles found to be “not in the inventory.”

22. The FBI also recovered emails showing that Shane Smith, RDAG’s chief
financial officer, and his co-conspirators discussed the fake flooring. Specifically, on
March 20, 2017, Smith emailed instructions to submit fake flooring:

Whatever it takes, we need to floor anything and everything we can even

think of to cover payoffs each day...that is going to be the key!!!! That and

having seriously huge CIT!!!! The deposits we do each do will most likely

cover the checks we write each other!!

On March 21, 2018, Smith emailed these instructions:

I want us to load up as much as we can on flooring funding and deposits

today!!! Huge day. Don’t care what you find to floor, just get it all in

there!!!

23. Other employees or co-conspirators would email Smith and discuss fake
flooring. Specifically, on March 23, 2018, an RDAG employee emailed Smith and
asked, “Are we fake flooring again on Monday?” Smith replied that same day:

Just get them ready and we'll see how we do each day. First each day, enter

everything normal/regular that you have and then we'll have some ready if

we need to cover any. Your payoffs are not a ton, so maybe we can keep it

low or to a minimal on the fluff.

24. The FBI interviewed several witnesses. These witnesses said RDAG was
under-capitalized due to its aggressive growth and acquisitions of new dealerships,
above-market employee compensation, and unnecessary overhead. As aresult, RDAG

did not have the necessary capital on hand to make the required large payments to FMCC
after floor plan audits.

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25. The defendant agrees that the defendant committed all the essential
elements of the offense. This factual resume is not intended to be a complete accounting
ofall the facts and events related to the offense charged in this case. The limited purpose
of this statement of facts is to demonstrate that a factual basis exists to support the
defendant's guilty plea to Count One of the Information.

AGREED TO AND STIPULATED on this 25P ny of Lehokee- aio.

 

ERIN NEALY COX
UNITED STATES ATTORNEY

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